




NO. 07-04-0225-CV



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



SEPTEMBER 8, 2004



______________________________





D. DEAN BOYD AND HUNTER, KALINKE AND BOYD, APPELLANTS



V.



NORTHWEST TEXAS HEALTHCARE SYSTEM, INC., D/B/A

NORTHWEST TEXAS HOSPITAL AND AMERICAN SOUTHWEST

INSURANCE MANAGERS, APPELLEES



_________________________________



FROM THE COUNTY COURT AT LAW NO. 2 OF POTTER COUNTY;



NO. 89829-00-2; HONORABLE PAMELA C. SIRMON, JUDGE



_______________________________



Before JOHNSON, C.J., and REAVIS and CAMPBELL, JJ.

ON AGREED MOTION TO DISMISS

Appellants, D. Dean Boyd and the law firm Hunter, Kalinke &amp; Boyd, perfected an appeal from a summary judgment granted appellees Northwest Texas Healthcare System and American Southwest Insurance Managers in a suit over an unsatisfied hospital lien. &nbsp;The parties have filed an agreed motion to dismiss. &nbsp;The motion asserts the parties have entered a settlement agreement.

Rule of Appellate Procedure 42.1(a)(2)(A) authorizes an appellate court to render a judgment effectuating an agreement of the parties signed by the parties and filed with the clerk. &nbsp;The agreed motion asks us to vacate the summary judgment of the trial court and dismiss the case. &nbsp;
See
 Tex. R. App. P. 43.2(e). &nbsp;Finding the motion meets the requirements of Rules of Appellate Procedure 6.6 and 42.1(a)(2), we vacate the judgment of the trial court and dismiss the case. 

Having rendered judgment at the parties express request, we will not entertain a motion for rehearing and our mandate shall issue forthwith. &nbsp;



Per Curiam	




